       Case 1:19-cv-01455-YK-EB Document 27 Filed 10/21/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANDRE M. ADAMS,                            :
          Petitioner                       :
                                           :              No. 1:19-cv-01455
             v.                            :
                                           :              (Judge Kane)
SUPERINTENDENT                             :
SCI HUNTINGDON, et al.,                    :
          Respondents                      :

                                       ORDER

      AND NOW, on this 21st day of October 2020, in accordance with the Memorandum

filed concurrently with this Order, IT IS ORDERED THAT:

      1. Petitioner’s petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254 (Doc.
         No. 1) is DENIED;

      2. A certificate of appealability SHALL NOT ISSUE; and

      3. The Clerk of Court is directed to CLOSE the above-captioned case.

                                                   s/ Yvette Kane
                                                   Yvette Kane, District Judge
                                                   United States District Court
                                                   Middle District of Pennsylvania
